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 6                              UNITED STATES DISTRICT COURT

 7                                      DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                         ) 3:15-CR-064-LRH-(WGC)
                                                     )
 9                         Plaintiff,                )
                                                     )
10          v.                                       ) Preliminary Order of Forfeiture
                                                     )
11 EMMANUEL NAVARRO,                                 )
                                                     )
12                         Defendant.                )
13          This Court finds that defendant EMMANUEL NAVARRO pled guilty to Count One of a

14 One-Count Superseding Information charging him with Conspiracy to Possess with Intent to

15 Distribute and to Distribute at least 50 grams of a Mixture or Substance Containing a Detectable

16 Amount of Methamphetamine in violation of Title 21, United States Code, Sections 841(a)(1)

17 and 846. Superseding Information, ECF No. 65; Plea Agreement, ECF No. 70; Change of Plea,

18 ECF No. 71.

19          This Court finds defendant EMMANUEL NAVARRO agreed to the forfeiture of the

20 property set forth in the Plea Agreement and the Forfeiture Allegation of the Superseding

21 Information. Superseding Information, ECF No. 65; Plea Agreement, ECF No. 70; Change of

22 Plea, ECF No. 71.

23          This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

24 America has shown the requisite nexus between property set forth in the Plea Agreement and the

25 Forfeiture Allegation of the Superseding Information and the offense to which defendant

26 EMMANUEL NAVARRO pled guilty.
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 1          The following property is subject to forfeiture pursuant to Title 21, United States Code,

 2 Section 853(a)(1), (a)(2), and (p):

 3                  United States currency, including: (a) $12,710 recovered from a backpack in a

 4                  dark blue 2003 Audi four-door vehicle, bearing Nevada license plate 16A-139,

 5                  with vehicle identification number WAULC68E33A344943 on or about July 4,

 6                  2015; and (b) $5800 recovered from a dark blue 2003 Audi four-door vehicle,

 7                  bearing Nevada license plate 16A-139, with vehicle identification number

 8                  WAULC68E33A344943 on or about July 9, 2015 (property).

 9          This Court finds the United States of America is now entitled to, and should, reduce the

10 aforementioned property to the possession of the United States of America.

11          NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that

12 the United States of America should seize the aforementioned property.

13          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest

14 of EMMANUEL NAVARRO in the aforementioned property is forfeited and is vested in the

15 United States of America and shall be safely held by the United States of America until further

16 order of the Court.

17          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of

18 America shall publish for at least thirty (30) consecutive days on the official internet government

19 forfeiture website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited

20 property, state the time under the applicable statute when a petition contesting the forfeiture must

21 be filed, and state the name and contact information for the government attorney to be served

22 with the petition, pursuant to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code,

23 Section 853(n)(2).

24          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual or

25 entity who claims an interest in the aforementioned property must file a petition for a hearing to

26 adjudicate the validity of the petitioner’s alleged interest in the property, which petition shall be




                                                      2
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 1 signed by the petitioner under penalty of perjury pursuant to Title 21, United States Code,

 2 Section 853(n)(3) and Title 28, United States Code, Section 1746, and shall set forth the nature

 3 and extent of the petitioner’s right, title, or interest in the forfeited property and any additional

 4 facts supporting the petitioner’s petition and the relief sought.

 5          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be

 6 filed with the Clerk of the Court, Bruce R. Thompson U.S. Courthouse and Federal Building,

 7 400 South Virginia Street, 3rd Floor, Reno, NV 89501, no later than thirty (30) days after the

 8 notice is sent or, if direct notice was not sent, no later than sixty (60) days after the first day of

 9 the publication on the official internet government forfeiture site, www.forfeiture.gov.

10          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if

11 any, shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at

12 the following address at the time of filing:

13                  Greg Addington
                    Assistant United States Attorney
14                  100 West Liberty Street, Suite 600
                    Reno, NV 89501
15

16          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described

17 herein need not be published in the event a Declaration of Forfeiture is issued by the appropriate

18 agency following publication of notice of seizure and intent to administratively forfeit the above-

19 described property.

20          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send copies

21 of this Order to all counsel of record.

22          DATED this 16th
                       ___ day
                            dayof
                                of____________,
                                   June, 2016.  2016.

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24

25
                                                    ___________________________________
                                                    UNITED STATES DISTRICT JUDGE
26                                                  LARRY R. HICKS
                                                    UNITED STATES DISTRICT JUDGE



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